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   7
   8                       UNITED STATES DISTRICT COURT

   9                       CENTRAL DISTRICT OF CALIFORNIA

  10
  11 JESUS GARCIA,                                  Case No.: 2:23-cv-09391 MWF (RAOx)

  12                                                NOTICE OF SETTLEMENT OF
                    Plaintiff,                      ENTIRE CASE
  13
             vs.
  14
  15 ROSA BENITEZ CARBAJOL D/B/A
     LA COSTA RESTAURANT; SC
  16 PORT, LLC; and DOES 1 to 10,
  17
               Defendants.
  18
  19         Notice is hereby given that Plaintiff JESUS GARCIA ("Plaintiff") and
  20 Defendants have settled the above-captioned matter as to the entire case. Parties
  21 request that the Court grant thirty (30) days from the date of this filing for Plaintiff
  22 to file dispositional documents in order to afford Parties time to complete settlement.
  23
      DATED: March 25, 2024                       SO. CAL EQUAL ACCESS GROUP
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  25                                                      /s/ Jason J. Kim
  26                                                JASON J. KIM
                                                    Attorney for Plaintiff
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                                                           NOTICE OF SETTLEMENT OF ENTIRE CASE
